                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:11-cr-99
v.                                                    )
                                                      )       COLLIER / LEE
BENJAMIN ADAMSON                                      )



                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on February 29, 2012.

At the hearing, defendant moved to withdraw his not guilty plea to Count One of the five-count

Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

that is of conspiracy to distribute and possess with the intent to distribute crack cocaine and heroin

in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) in exchange for the undertakings made

by the government in the written plea agreement. On the basis of the record made at the hearing,

I find the defendant is fully capable and competent to enter an informed plea; the plea is made

knowingly and with full understanding of each of the rights waived by defendant; the plea is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea

agreement; the defendant understands the nature of the charge and penalties provided by law; and

the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One of the Indictment be granted, his plea of guilty to the lesser included offense of the charge in

Count One of the Indictment, that is of conspiracy to distribute and possess with the intent to

distribute crack cocaine and heroin in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B)

be accepted, the Court adjudicate defendant guilty of the lesser included offense of the charge in



Case 1:11-cr-00099-TRM-SKL             Document 43        Filed 03/02/12     Page 1 of 2      PageID
                                             #: 99
Count One of the Indictment, that is of conspiracy to distribute and possess with the intent to

distribute crack cocaine and heroin in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B),

and a decision on whether to accept the plea agreement be deferred until sentencing. I further

RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance of the

plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.


                                                s/ fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




Case 1:11-cr-00099-TRM-SKL            Document 43 Filed 03/02/12              Page 2 of 2      PageID
                                            #: 100
